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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8                                                ***
9     JEFFREY FRANKLIN,                                   Case No. 2:20-cv-00063-RFB-DJA
10                                       Plaintiff,                     ORDER
             v.
11
      HERNANDEZ, et al.,
12
                                     Defendants.
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14          This action is a pro se civil rights action filed pursuant to 42 U.S.C. § 1983 by a

15   state prisoner. On September 23, 2020, the Court imposed a stay, and the Court entered

16   a subsequent order in which the parties were assigned to mediation by a court-appointed

17   mediator. (ECF Nos. 10, 13). The Office of the Attorney General has filed a status report

18   indicating that settlement has not been reached and informing the Court of its intent to

19   proceed with this action. (ECF No. 16).

20          For the foregoing reasons, IT IS ORDERED that:

21          1.     The Clerk of the Court shall electronically SERVE a copy of this order and

22   a copy of Plaintiff’s First Amended Complaint (ECF Nos. 3, 3-1) on the Office of the

23   Attorney General of the State of Nevada by adding the Attorney General of the State of

24   Nevada to the docket sheet. This does not indicate acceptance of service.

25          2.     Service must be perfected within ninety (90) days from the date of this order

26   pursuant to Fed. R. Civ. P. 4(m).

27          3.     Subject to the findings of the screening order (ECF No. 10), within twenty-

28   one (21) days of the date of entry of this order, the Attorney General’s Office shall file a

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1    notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it

2    accepts service; (b) the names of the defendants for whom it does not accept service,

3    and (c) the names of the defendants for whom it is filing the last-known-address

4    information under seal. As to any of the named defendants for whom the Attorney

5    General’s Office cannot accept service, the Office shall file, under seal, but shall not serve

6    the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such

7    information. If the last known address of the defendant(s) is a post office box, the Attorney

8    General's Office shall attempt to obtain and provide the last known physical address(es).

9           4.     If service cannot be accepted for any of the named defendant(s), Plaintiff

10   shall file a motion identifying the unserved defendant(s), requesting issuance of a

11   summons, and specifying a full name and address for the defendant(s).                For the

12   defendant(s) as to which the Attorney General has not provided last-known-address

13   information, Plaintiff shall provide the full name and address for the defendant(s).

14          5.     If the Attorney General accepts service of process for any named

15   defendant(s), such defendant(s) shall file and serve an answer or other response to the

16   complaint within sixty (60) days from the date of this order.

17          6.     Henceforth, Plaintiff shall serve upon defendant(s) or, if an appearance has

18   been entered by counsel, upon their attorney(s), a copy of every pleading, motion or other

19   document submitted for consideration by the Court. Plaintiff shall include with the original

20   document submitted for filing a certificate stating the date that a true and correct copy of

21   the document was mailed or electronically filed to the defendants or counsel for the

22   defendants. If counsel has entered a notice of appearance, Plaintiff shall direct service

23   to the individual attorney named in the notice of appearance, at the physical or electronic

24   address stated therein. The Court may disregard any document received by a district

25   judge or magistrate judge which has not been filed with the Clerk, and any document

26   received by a district judge, magistrate judge, or the Clerk which fails to include a

27   certificate showing proper service.

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1          7.    This case is no longer stayed.

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           DATED this 12th day of January, 2021.
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                                            UNITED STATES MAGISTRATE JUDGE
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